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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

                                                  )
CITY WALK - URBAN MISSION INC.,                   )
RENEE MILLER, and ANTHONY MILLER,                 )
                                                  )     CASE NO.:
        Plaintiffs,                               )
                                                  )
vs.                                               )
                                                  )
CITY OF TALLAHASSEE,                              )
                                                  )
        Defendant.                                )
                                                  /

         NOTICE OF COMPLIANCE WITH LOCAL RULE 24.1

        Plaintiffs certify that they have complied with the requirements of Rule 24.1,

N.D.Fla.Loc.R. by serving the Attorney General, Ashley Moody, with a copy of the

Complaint and the Plaintiffs’ Motion for Preliminary Injunction and Supporting

Memorandum of Law by U.S. Mail sent to the Office of the Attorney General, PL-01, The

Capitol, Tallahassee, Florida 32399, this 7th day of February, 2022.


                                                  Respectfully Submitted,

DUDLEY, SELLERS, HEALY &                          BENJAMIN, AARONSON,
HEATH, PLLC                                       EDINGER & PATANZO, P.A.

                                                     /s/ Gary S. Edinger
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